                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

KIMBERLY GARNSEY, Individually,              )
and on Behalf of All Others                  )
Similarly Situated,                          )
                                             )
               Plaintiff,                    )      Case No.
                                             )
       v.                                    )
                                             )      JURY TRIAL DEMANDED
CASH EXPRESS, LLC,                           )
                                             )
               Defendant.                    )

                                CLASS ACTION COMPLAINT

       Plaintiff Kimberly Garnsey (“Plaintiff”), through her undersigned counsel, brings this

action against Cash Express, LLC. (“Cash Express” or “Defendant”) pursuant to the investigation

of her attorneys, personal knowledge as to herself and her own acts and otherwise upon information

and belief, and alleges as follows:

                                      INTRODUCTION

       1.      Cash Express is a payday loan lender, check cashing service, and pawn shop with

locations in Tennessee, Mississippi, Alabama, and Kentucky.

       2.      On or about September 15, 2022, Cash Express announced that it had been the

recipient of a hack and exfiltration of sensitive personal information (“SPI”) involving

approximately 106,000 individuals who have used Defendant’s services in the past (the “Data

Breach”).

       3.      Cash Express stated that the hack and exfiltration occurred between January 29 and

February 6, 2022. Cash Express states that “[o]nce we identified the data that may have been

affected, we promptly engaged a data review firm to determine what information was in those




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    files.” 1 Cash Express further states that it did not receive those results until August 4, 2022. It

    then waited until September 15, 2022 to announce the occurrence of the hack.

          4.       Cash Express reported that this SPI included Social Security numbers, full names,

dates of birth, contact information, driver’s license numbers, “limited medical details,” and

financial information, including bank and routing numbers.

          5.       Plaintiff and Class members now face a present and imminent lifetime risk of

identity theft, which is heightened here by the loss of Social Security numbers.

          6.       The information stolen in cyber-attacks allows the modern thief to assume victims’

identities when carrying out criminal acts such as:

               •   Filing fraudulent tax returns;

               •   Using your credit history;

               •   Making financial transactions on behalf of victims, including opening

                   credit accounts in victims’ names;

               •   Impersonating victims via mail and/or email;

               •   Impersonating victims in cyber forums and social networks;

               •   Stealing benefits that belong to victims; and

               •   Committing illegal acts which, in turn, incriminate victims.

          7.       Plaintiff’s and Class members’ SPI was compromised due to Defendant’s negligent

and/or careless acts and omissions and its failure to protect the SPI of Plaintiff and Class members.

          8.       As of this writing, there exist many class members who have no idea their SPI has

been compromised, and that they are at significant risk of identity theft and various other forms of

personal, social, and financial harm. The risk will remain for their respective lifetimes.

          9.       Plaintiff brings this action on behalf of all persons whose SPI was compromised as


1
    https://www.cashexpressllc.com/security-notice, last accessed October 4, 2022.


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a result of Defendant’s failure to: (i) adequately protect consumers’ SPI, (ii) adequately warn its

current and former customers and potential customers of its inadequate information security

practices, and (iii) effectively monitor its platforms for security vulnerabilities and incidents (the

“Class”). Defendant’s conduct amounts to negligence and violates state statutes.

       10.     Plaintiff and similarly situated individuals have suffered injury as a result of

Defendant’s conduct. These injuries include: (i) lost or diminished inherent value of SPI; (ii) out-

of-pocket expenses associated with the prevention, detection, and recovery from identity theft, tax

fraud, and/or unauthorized use of their SPI; (iii) lost opportunity costs associated with attempting

to mitigate the actual consequences of the Data Breach, including but not limited to lost time;

(iv) deprivation of rights they possess under Tennessee data privacy laws; and (v) the continued

and certainly an increased risk to their SPI, which remains in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the SPI.

                                 JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1332(d) because this is a class action wherein the amount in controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs, there are more than 100 members in the
proposed class, and at least one member of the class is a citizen of a state different from Defendant.

       12.     This Court has personal jurisdiction over Defendant because Defendant’s principal

places of business is located within this District.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to these claims occurred in, were directed to, and/or

emanated from this District. Defendant resides within this judicial district and a substantial part of

the events giving rise to the claims alleged herein occurred within this judicial district.




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                                               PARTIES

        14.     Plaintiff Kimberly Garnsey is a natural person residing in Drummonds, Tennessee.

On or about September 19, 2022, Plaintiff Garnsey was informed via letter dated August 26, 2022

that she had been a victim of the Data Breach.

        15.     Defendant Cash Express, LLC is a Tennessee limited liability corporation with its

principal place of business at 345 S. Jefferson Ave., Suite 403, Cookeville, Tennessee 38501.

                                    FACTUAL ALLEGATIONS

        16.     Defendant is a loan company, dealing in payday loans, installment loans, small lines

of credit, pawn loans, gold purchases, title loans, and check cashing services. 2

        17.     In the normal course of business, Cash Express collects SPI from individuals who

take out various loans with Cash Express. This SPI includes Social Security Numbers, driver’s

license numbers, bank account numbers, routing numbers, and apparently some medical

information. Cash Express also collects customers’ full names, dates of birth, addresses, phone

numbers, and other contact information.

        18.     Cash Express’s Privacy Policy states, “[t]o protect our personal information from

unauthorized access and use, we use security measures that comply with federal law. These

measures include computer safeguards and secured files and buildings.” 3 Cash Express further

states that it does not share information with entities that are not affiliates. 4

        19.     On or about September 15, 2022, Defendant announced:

               On February 6, 2022, Cash Express became aware of unusual activity on
        our network. We promptly began working with cybersecurity experts to investigate


2
  See https://www.cashexpressllc.com/, last accessed October 4, 2022
3
   https://www.cashexpressllc.com/uploads//Cash_Express_Privacy_Policy_July_2021.pdf, last accessed
October 4, 2022.
4
  Id.


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          and subsequently determined that an unauthorized third-party gained access to a
          portion of our computer system. Based on our investigation, we believe they had
          access from January 29, 2022, to February 6, 2022. Once we identified the data that
          may have been affected, we promptly engaged a data review firm to determine what
          information was in those files. We received those results on August 4, 2022. And
          we are now providing you this notice to give you information on what happened
          and what we are doing in response. 5

          20.     Cash Express conceded that the hacker gained access, including SPI in the form of

“full name, date of birth, contact information, government identification (such as Social Security

or driver's license number), limited medical details, and financial information (such as bank

account and routing number).” 6

          21.     As of this writing, Defendant has offered minimal concrete information on the steps

it has taken or specific efforts made to reasonably ensure that such a breach cannot or will not

occur again.

          22.     Defendant is offering a wholly inadequate solitary year of credit monitoring from

Experian Identity works to all affected customers, including Plaintiff and the Class.

          23.     This response is entirely inadequate to Plaintiff and Class members who now face

several years of heightened risk from the theft of their SPI and who may have already incurred

substantial out-of-pocket costs in responding to the Data Breach.

          24.     This is particularly problematic because Plaintiff’s and Class members’ SPI was in

the hands of hackers for approximately seven and a half months before Defendant began notifying

them of the Data Breach.

          25.     Defendant had obligations created by contract, industry standards, common law,

and representations made to Plaintiff and Class members, to keep their SPI confidential and to




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    https://www.cashexpressllc.com/security-notice, last accessed October 4, 2022.
6
    Id.
                                                         -5-

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protect it from unauthorized access and disclosure.

        26.     Furthermore, this is not Cash Express’s first data breach. In 2015, a Cash Express

employee was charged with using the information of former customers to fraudulently open loans. 7

        27.     Plaintiff and Class members provided their SPI to Defendant with the reasonable

expectation and mutual understanding that Defendant would comply with its obligations to keep

such information confidential and secure from unauthorized access.

        28.     Defendant’s data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches preceding the date of the breach.

        29.     Indeed, data breaches, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack. Therefore,

the increase in such attacks, and attendant risk of future attacks, was widely known and completely

foreseeable to the public and to anyone in Defendant’s industry, including Defendant.

        30.     According to the Federal Trade Commission (“FTC”), identity theft wreaks havoc

on consumers’ finances, credit history, and reputation and can take time, money, and patience to

resolve. 8 Identity thieves use stolen personal information for a variety of crimes, including credit

card fraud, phone or utilities fraud, and bank and finance fraud. 9




7
  See https://www.databreaches.net/ky-former-cash-express-employee-arrested/, last accessed October 4,
2022.
8
  See Taking Charge, What to Do If Your Identity is Stolen, FTC, 3 (Apr. 2013), https://dss.mo.gov/cd/older-
youth-program/files/taking-charge-what-to-do-if-identity-is-stolen.pdf, last accessed October 4, 2022.
9
   The FTC defines identity theft as “a fraud committed or attempted using the identifying information of
another person without authority.” 16 CFR § 603.2. The FTC describes “identifying information” as “any
name or number that may be used, alone or in conjunction with any other information, to identify a specific
person,” including, among other things, “[n]ame, social security number, date of birth, official State or
government issued driver’s license or identification number, alien registration number, government
passport number, employer or taxpayer identification number.” Id.
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       31.     The SPI of Plaintiff and Class members was taken by hackers to engage in identity

theft and/or to sell to other criminals who purchase SPI for that purpose. The fraudulent activity

resulting from the Data Breach may not come to light for years, requiring Plaintiff and Class

members to remain vigilant well into the future.

       32.     Defendant knew, or reasonably should have known, of the importance of

safeguarding the SPI of Plaintiff and Class members, including Social Security numbers, dates of

birth, and other sensitive information, as well as of the foreseeable consequences that would occur

if Defendant’s data security systems were breached, including, specifically, the significant costs

that would be imposed on Plaintiff and Class members as a result of a breach.

       33.     Plaintiff and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their SPI.

       34.     Plaintiff’s and Class members’ injuries were directly and proximately caused by

Defendant’s failure to implement or maintain adequate data security measures for the SPI of

Plaintiff and Class members.

       35.     The FTC has promulgated numerous guides for businesses which highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.

       36.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cyber-security guidelines for businesses. The guidelines

note that businesses should protect the personal customer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their networks’ vulnerabilities; and implement policies to correct any



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security problems. The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach.

       37.     The FTC further recommends that companies not maintain SPI longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       38.     The FTC has brought enforcement actions against businesses for failing to protect

consumer data adequately and reasonably, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       39.     Defendant failed to properly implement basic data security practices, and its failure
to employ reasonable and appropriate measures to protect against unauthorized access to consumer

SPI constitutes an unfair act or practice prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

       40.     A number of industry and national best practices have been published and should

have been used as a go-to resource and authoritative guide when developing Defendant’s

cybersecurity practices.

       41.     Best cybersecurity practices include installing appropriate malware detection

software; monitoring and limiting the network ports; protecting web browsers and email

management systems; setting up network systems such as firewalls, switches and routers;


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monitoring and protecting physical security systems; protecting against any possible

communication system; and training staff regarding critical points.

        42.       Upon information and belief, Defendant failed to meet the minimum standards of

the following cybersecurity frameworks: the NIST Cybersecurity Framework Version 1.1

(including without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,

PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8,

and RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS CSC), which

are established standards in reasonable cybersecurity readiness.

        43.       These foregoing frameworks are existing and applicable industry standards in

Defendant’s industry, but Defendant failed to comply with these accepted standards, thereby

opening the door to the cyber-attack and causing the Data Breach.

        44.       Businesses that store personal information are likely to be targeted by cyber

criminals, and this is particularly true in regard to credit card and bank account numbers. However,

information such as dates of birth and Social Security numbers are even more attractive to hackers

because they are not easily destroyed and can be easily used to perpetrate identity theft and other

types of fraud.

        45.       Individuals’ SPI is highly valuable to criminals, as evidenced by the prices they

will pay to purchase this information via the dark web. Numerous sources cite dark web pricing

for stolen identity credentials. For example, personal information can be sold for $40 to $200, and

bank details have a price range of $50 to $200. 10

        46.       Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration (“SSA”) stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive


10
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, (Oct. 16,
2019), https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-
costs, last accessed October 4, 2022

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financial fraud:
               A dishonest person who has your Social Security number can use it to get
       other personal information about you. Identity thieves can use your number and
       your good credit to apply for more credit in your name. Then, they use the credit
       cards and don’t pay the bills, it damages your credit. You may not find out that
       someone is using your number until you’re turned down for credit, or you begin to
       get calls from unknown creditors demanding payment for items you never bought.
       Someone illegally using your Social Security number and assuming your identity
       can cause a lot of problems. 11
       47.     What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       48.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.” 12

       49.     Furthermore, as the SSA warns:
               Keep in mind that a new number probably will not solve all your problems.
               This is because other governmental agencies (such as the IRS and state
               motor vehicle agencies) and private businesses (such as banks and credit
               reporting companies) likely will have records under your old number.
               Along with other personal information, credit reporting companies use
               the number to identify your credit record. So using a new number will
               not guarantee you a fresh start. This is especially true if your other
               personal information, such as your name and address, remains the same.

               If you receive a new Social Security Number, you should not be able to use
               the old number anymore.


11
   SSA, Identity Theft and Your Social Security Number, SSA Publication No. 05-10064 (Jun. 2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf, last accessed October 4, 2022.
12
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9,
2015),http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millionsworrying-about-identity-theft, last accessed October 4, 2022.

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                  For some victims of identity theft, a new number actually creates new
                  problems. If the old credit information is not associated with your new
                  number, the absence of any credit history under the new number may make
                  more difficult for you to get credit. 13
          50.     Here, the unauthorized access left the cyber criminals with the tools to perform the

most thorough identity theft—they have obtained all the essential SPI to mimic the identity of the

user. Plaintiff’s and Class members’ stolen personal data is a dream for hackers and a nightmare

for Plaintiff and the Class. The personal data stolen in conjunction with the Data Breach essentially

provides one-stop shopping for identity thieves.

          51.     A person whose personal information has been compromised may not see any signs

of identity theft for years, and public policy supports an approach wherein businesses act vigilantly

to monitor, detect, guard against, and prevent fraudulent activity. According to the United States

Government Accountability Office (“GAO”) Report to Congressional Requesters:
                  [L]aw enforcement officials told us that in some cases, stolen data
                  may be held for up to a year or more before being used to commit
                  identity theft. Further, once stolen data have been sold or posted on
                  the Web, fraudulent use of that information may continue for years.
                  As a result, studies that attempt to measure the harm resulting from
                  data breaches cannot necessarily rule out all future harm. 14
          52.     Companies recognize that SPI is a valuable asset–indeed, it is a valuable

commodity. A “cyber black-market” exists in which criminals openly post stolen Social Security

numbers and other SPI on a number of Internet websites. The stolen personal data of Plaintiff and

Class members is highly valuable on both legitimate and black markets.

          53.     Identity thieves may commit various types of crimes such as immigration fraud,

obtaining a driver license or identification card in the victim’s name but with another person’s

picture, and/or using the victim’s information to obtain a fraudulent tax refund or fraudulent



13
   SSA, Identity Theft and Your Social Security Number, SSA Publication No. 05-10064 (Jun. 2018),
http://www.ssa.gov/pubs/EN-05-10064.pdf, last accessed October 4, 2022.
14
     See https://www.gao.gov/assets/gao-07-737.pdf (June 2007) at 29, last accessed October 4, 2022.


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unemployment benefits. The United States government and privacy experts acknowledge that it

may take years for identity theft to come to light and be detected.

       54.     As noted above, the disclosure of Social Security numbers in particular poses a

significant risk. Criminals can, for example, use Social Security numbers to create false bank

accounts or file fraudulent tax returns. Defendant’s former and current customers whose Social

Security numbers have been compromised now face a real, present, imminent and substantial risk

of identity theft and other problems associated with the disclosure of their Social Security number

and will need to monitor their credit and tax filings for an indefinite duration.

       55.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because credit and debit card accounts can easily and quickly be closed. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to change

— Social Security number, driver license number or government-issued identification number,

name, and date of birth.

       56.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 15

       57.     This is even more true for minors, whose Social Security Numbers are particularly

valuable. As one site noted, “The organization added that there is extreme credit value in Social

Security numbers that have never been used for financial purposes. It’s relatively simple to add a

false name, age or address to a Social Security number. After that happens, there is a window for




15
  Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
World, (Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-
sells-for-10x-price-of-stolen-credit-card-numbers.html, last accessed October 4, 2022

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thieves to open illicit credit cards or even sign up for government benefits.” 16

          58.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, housing, or even give false information to police. An

individual may not know that his or her driver’s license was used to file for unemployment benefits

until law enforcement notifies the individual’s employer of the suspected fraud, or until the

individual attempts to lawfully apply for unemployment and is denied benefits (due to the prior,

fraudulent application and award of benefits).

                                  FACTS SPECIFIC TO PLAINTIFF

          59.     On or about September 19, 2022, Plaintiff was notified via a physical letter (dated

September 15, 2022) from Defendant that she had been the victim of the Data Breach.

          60.     Plaintiff has experienced a surge in spam calls and texts roughly coincident with

the timing of the Data Breach, indicating that hackers are already trying to take advantage of the

release of her SPI.

          61.     Additionally, Plaintiff is aware of no other source from which the theft of her SPI

could have come. She regularly takes steps to safeguard her own SPI in her own control.

                                      CLASS ACTION ALLEGATIONS

          62.     Plaintiff brings this nationwide class action pursuant to Rules 23(b)(2), 23(b)(3),

and 23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all members of

the following classes:

          Nationwide Class: All natural persons residing in the United States whose SPI was
          compromised in the Data Breach announced by Defendant on or about September
          12, 2022 (the “Nationwide Class”).

          Tennessee Subclass: All natural persons residing in Tennessee whose SPI was


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     https://www.identityguard.com/news/kids-targeted-identity-theft, last accessed September 6, 2022)


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       compromised in the Data Breach announced by Defendant on or about September
       12, 2022 (the “Tennessee Subclass”).
       63.     Excluded from the Classes are all individuals who make a timely election to be

excluded from this proceeding using the correct protocol for opting out, and all judges assigned to

hear any aspect of this litigation and their immediate family members.

       64.     Plaintiff reserves the right to modify or amend the definitions of the proposed

Classes before the Court determines whether certification is appropriate.

       65.     Numerosity: The Classes are so numerous that joinder of all members is

impracticable. One security website has, as of this writing, indicated that the total number of Class

Members is approximately 106,521. 17 The identity of individual members of the Classes is readily
identifiable from records in Defendant’s possession and/or control.

       66.     Commonality: Questions of law and fact common to the Classes exist and

predominate over any questions affecting only individual members of the Classes. These include:

       a.      When Defendant actually learned of the Data Breach and whether its response was

adequate;

       b.      Whether Defendant owed a duty to the Classes to exercise due care in collecting,

storing, safeguarding and/or obtaining their SPI;

       c.      Whether Defendant breached that duty;

       d.      Whether Defendant implemented and maintained reasonable security procedures
and practices appropriate to the nature of storing the SPI of Plaintiff and members of the Classes;

       e.      Whether Defendant acted negligently in connection with the monitoring and/or

protection of SPI belonging to Plaintiff and members of the Classes;

       f.      Whether Defendant knew or should have known that it did not employ reasonable

measures to keep the SPI of Plaintiff and members of the Classes secure and to prevent loss or

misuse of that SPI;



17
  Seehttps://apps.web.maine.gov/online/aeviewer/ME/40/8f4fd997-6635-481c-ba23-4e3cc7015938.shtml,
last accessed October 4, 2022
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       g.      Whether Defendant has adequately addressed and fixed the vulnerabilities which

permitted the Data Breach to occur;

       h.      Whether Defendant caused Plaintiff’s and members of the Classes damage;

       i.      Whether Defendant violated the law by failing to promptly notify Plaintiff and

members of the Classes that their SPI was compromised; and

       j.      Whether Plaintiff and the other members of the Classes are entitled to credit

monitoring and other monetary relief.

       67.     Typicality: Plaintiff’s claims are typical of those of the other members of the

Classes because all had their SPI compromised as a result of the Data Breach due to Defendant’s

misfeasance.

       68.     Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the Classes. Plaintiff’s counsel is competent and experienced in litigating privacy-related class

actions.

       69.     Superiority and Manageability: Under rule 23(b)(3) of the Federal Rules of Civil

Procedure, a class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all the members of the Classes is impracticable.

Individual damages for any individual member of the Classes are likely to be insufficient to justify

the cost of individual litigation, so that in the absence of class treatment, Defendant’s misconduct

would go unpunished. Furthermore, the adjudication of this controversy through a class action

will avoid the possibility of inconsistent and potentially conflicting adjudication of the asserted

claims. There will be no difficulty in the management of this action as a class action.

       70.     Class certification is also appropriate under Rule 23(a) and (b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Classes, so that final

injunctive relief or corresponding declaratory relief is appropriate as to the Nationwide Class as a

whole and as to the Tennessee Subclass as a whole.

       71.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

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advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

       a.      Whether Defendant owed a legal duty to Plaintiff and members of the Classes to

exercise due care in collecting, storing, using, and safeguarding their SPI;

       b.      Whether Defendant breached a legal duty to Plaintiff and the members of the

Classes to exercise due care in collecting, storing, using, and safeguarding their SPI;

       c.      Whether Defendant failed to comply with its own policies and applicable laws,

regulations, and industry standards relating to data security;

       d.      Whether Defendant failed to implement and maintain reasonable security

procedures and practices appropriate to the nature and scope of the information compromised in

the Data Breach; and

       e.      Whether members of the Classes are entitled to actual damages, credit monitoring

or other injunctive relief, and/or punitive damages as a result of Defendant’s wrongful conduct.

                                 FIRST CLAIM FOR RELIEF
                                  Breach of Implied Contract
               (By Plaintiff Individually and on Behalf of the Nationwide Class)

       72.     Plaintiff hereby re-alleges and incorporates by reference all of the allegations in

paragraphs 1 to 71.

       73.     When Plaintiff and Class Members provided their SPI to Defendant in exchange

for Defendant’s services, they entered into implied contracts with Defendant under which—and

by mutual assent of the parties—Defendant agreed to take reasonable steps to protect their SPI.

       74.     Defendant solicited and invited Plaintiff and Class Members to provide their SPI as

part of Defendant’s regular business practices and as essential to the services transactions entered

into between Defendant on the one hand and Plaintiff and Class Members on the other. This

conduct thus created implied contracts between Plaintiff and Class Members on the one hand, and

Defendant on the other hand. Plaintiff and Class Members accepted Defendant’s offers by

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providing their SPI to Defendant in connection with their purchases from Defendant.

        75.        When entering into these implied contracts, Plaintiff and Class Members

reasonably believed and expected that Defendant’s data security practices complied with relevant

laws, regulations, and industry standards.

        76.        Defendant’s implied promise to safeguard Plaintiff’s and Class Members’ SPI is

evidenced by a duty to protect and safeguard SPI that Defendant required Plaintiff and Class

Members to provide as a condition of entering into consumer transactions with Defendant.

        77.        Plaintiff and Class Members paid money to Defendant to purchase services from

Defendant. Plaintiff and Class Members reasonably believed and expected that Defendant would

use part of funds received as a result of the transactions to obtain adequate data security. Defendant

failed to do so.

        78.        Plaintiff and Class Members, on the one hand, and Defendant, on the other hand,

mutually intended—as inferred from use of Defendant’s services—that Defendant would

adequately safeguard SPI. Defendant failed to honor the parties’ understanding of these contracts,

causing injury to Plaintiff and Class Members.

        79.        Plaintiff and Class Members value data security and would not have provided their

SPI to Defendant in the absence of Defendant’s implied promise to keep the SPI reasonably secure.

        80.        Plaintiff and Class Members fully performed their obligations under their implied

contracts with Defendant.

        81.        Defendant breached its implied contracts with Plaintiff and Class Members by

failing to implement reasonable data security measures and permitting the Data Breach to occur.




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       82.     As a direct and proximate result of Defendant’s breaches of the implied contracts,

Plaintiff and Class Members sustained damages as alleged herein and are thereby entitled to

compensatory, consequential, and other damages suffered as a result of the Data Breach.

       83.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, inter alia, strengthen its data security systems and monitoring procedures, conduct

periodic audits of those systems, and provide credit monitoring and identity theft insurance to

Plaintiff and Nationwide Class members.


                              SECOND CLAIM FOR RELIEF
                            Unjust Enrichment, in the Alternative
              (By Plaintiff Individually and on Behalf of the Nationwide Class)

       84.     Plaintiff hereby re-alleges and incorporates by reference all of the allegations in

paragraphs 1 to 71.

       85.     Plaintiff and Class Members conferred a monetary benefit upon Defendant in the

form of storing their SPI with Defendant in such a way that saved expense and labor for Defendant.

       86.     Defendant appreciated or had knowledge of the benefits conferred upon it by

Plaintiff and Class Members. Defendant also benefited from the receipt of Plaintiff’s and Class

Members’ SPI, as this was used by Defendant to facilitate its core functions.

       87.     The benefits given by Plaintiff and Class Members to Defendant were to be used

by Defendant, in part, to pay for or recoup the administrative costs of reasonable data privacy and

security practices and procedures.

       88.     As a result of Defendant’s conduct, Plaintiff and Class Members suffered actual

damages in an amount to be determined at trial.

       89.     Under principles of equity and good conscience, Defendant should not be permitted

to retain a benefit belonging to Plaintiff and Class Members because Defendant failed to


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implement (or adequately implement) the data privacy and security practices and procedures that

Plaintiff and Class Members granted to Defendant or were otherwise mandated by federal, state,

and local laws and industry standards.

       90.     Defendant should be compelled to disgorge into a common fund for the benefit of

Plaintiff and Class Members all unlawful or inequitable proceeds or benefits it received as a result

of the conduct alleged herein.

                                     THIRD CLAIM FOR RELIEF
                   Violations of the Tennessee Identity Theft Deterrence Act of 1999
                                  Tenn. Code Ann § 47-18-2101, et seq.
                  (By Plaintiff Individually and on behalf of the Tennessee Subclass)

     91.        Plaintiff hereby re-alleges and incorporates by reference all the allegations in

paragraphs 1 to 71.

     92.        Defendant is a business that owns or licenses computerized data that includes

Personal Information as defined by Tenn. Code Ann. § 47-18-2107(a)(2).

     93.        Plaintiff and Tennessee Subclass members’ Personal Information that was

compromised in the Data Breach includes Personal Information as covered under Tenn. Code Ann.

§ 47-18-2107(a)(3)(A).

     94.        Defendant is required to accurately notify Plaintiff and Tennessee Subclass

members if it becomes aware of a breach of its data security systems that is reasonably likely to

have caused unauthorized persons to acquire Plaintiff’s and Tennessee Subclass members’

Personal Information in the most expedient time possible and without unreasonable delay under

Tenn. Code Ann. § 47-18-2107(b).

     95.        Because Defendant discovered a breach of its security systems in which

unencrypted PII and PHI was, or is reasonably believed to have been, acquired by an unauthorized




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person, Defendant has an obligation to disclose the Data Breach in a timely and accurate fashion

as mandated by Tenn. Code Ann. § 47-18-2107(b).

     96.        By failing to disclose the Data Breach in a timely and accurate manner, Defendant

violated Tenn. Code Ann. § 47-18-2107(b).

     97.        As a direct and proximate result of Defendant’s violations of Tenn. Code Ann. §

47-18-2107(b), Plaintiff and Tennessee Subclass members suffered damages, as described above.

     98.        Plaintiff and Tennessee Subclass members seek relief under Tenn. Code Ann. §§

47-18-2107(h), 47-18-2104(d), and 47-18-2104(f), including actual damages and injunctive relief.

                                FOURTH CLAIM FOR RELIEF
                    Violations of the Tennessee Consumer Protection Act of 1977,
                                  Tenn. Code. Ann § 47-18-101, et seq.
              (By Plaintiff Individually and on Behalf of the Tennessee Subclass)

       99.     Plaintiff hereby re-alleges and incorporates by reference all the allegations in

paragraphs 1 to 71.

       100.    Tenn. Code Ann. § 47-18-109(a)(1) provides that “[a]ny person who suffers an

ascertainable loss of money or property, real, personal, or mixed, or any other article, commodity,

or thing of value wherever situated, as a result of the use or employment by another person of an

unfair or deceptive act or practice described in § 47-18-104(b) and declared to be unlawful by this

part, may bring an action individually to recover actual damage.”

       101.    Tenn. Code Ann. § 47-18-109(a)(3) further provides that “[i]f the court finds that

the use or employment of the unfair or deceptive act or practice was willful or knowing violation

of this part, the court may award three (3) times the actual damages sustained and may provide

such other relief as it considers necessary and proper….”

       102.    Defendant’s lending, check cashing, sales, and other services constitute “trade or

commerce.”

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       103.     Defendant’s conduct violates the Tennessee Consumer Protection Act because

Defendant engaged in the deceptive acts and practices described above, which included a failure

to protect Plaintiff’s and the Tennessee Subclass’s Personal Information in spite of assurances to

the contrary.

       104.     Defendant omitted material facts concerning the steps they took (or failed to

undertake) to protect Plaintiff and Tennessee Subclass members’ Personal Information, which is

deceptive, false, and misleading given the conduct described herein. Such conduct is inherently

and materially deceptive and misleading in a material respect, which Defendant knew, or by the

exercise of reasonable care, should have known, to be untrue, deceptive or misleading. Such

conduct is unfair, deceptive, untrue, or misleading in that Defendant: (a) represented that their

services have approval, characteristics, uses or benefits that they do not have; and (b) represented

that services are of a particular standard, quality or grade.

       105.     Defendant’s materially misleading statements and deceptive acts and practices

alleged herein were directed at the public at large.

       106.     Defendant’s actions impact the public interest because Plaintiff and the Tennessee

Subclass have been injured in exactly the same way as thousands of others as a result of and

pursuant to Defendant’s generalized course of deception as described throughout this Complaint.

       107.     Defendant’s acts and practices described above were likely to mislead a reasonable

consumer acting reasonably under the circumstances.

       108.     Defendant’s misrepresentations, misleading statements and omissions were

materially misleading to Plaintiff and members of the Tennessee Subclass.

       109.     Defendant’s violation of Tenn. Code Ann. § 47-18-104 was willful and knowing.

As described above, at all relevant times, Defendants, among other things, knew that their policies



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and procedures for the protection of Plaintiff’s and the Tennessee Subclass’s PII and PHI were

inadequate to protect that PII and PHI. Nonetheless, Defendant continued to solicit and process

PII and PHI in the United States in order to increase their own profits.

       110.    Had Plaintiff and the members of the Tennessee Subclass known of Defendant’s

misrepresentations, misleading statements and omissions about their use of PII and PHI, they

would not have used Defendant’s services or given Defendant their PII and PHI.

       111.    As a direct and proximate result of Defendant’s conduct in violation of Tenn. Code

Ann. § 47-18-104, Plaintiff and the members of the Tennessee Subclass have been injured in

amounts to be proven at trial.

       112.    As a result, pursuant to Tenn. Code Ann. §§ 47-18-104 and 47-18-109, Plaintiff

and the Tennessee Subclass are entitled to damages in an amount to be determined at trial. Plaintiff

also properly asks that such damages be trebled based on Defendant’s knowledge and/or intention

with respect to its breach.

       113.    Plaintiff also seeks injunctive relief, including the dissemination of a factually

accurate statement on the actual state of Defendant’s PII and PHI storage and security posture.

       114.    Additionally, pursuant to Tenn. Code Ann. § 47-18-109, Plaintiff and the

Tennessee Subclass make claims for attorneys’ fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and all Class Members, requests judgment

against the Defendant and the following:

       A.      For an Order certifying the Class as defined herein and appointing Plaintiff and her

               counsel to represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct



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        complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

        the Class Members’ SPI;

  C.    For injunctive relief requested by Plaintiff, including but not limited to, injunctive

        and other equitable relief as is necessary to protect the interests of Plaintiff and

        Class Members, including but not limited to an order:

            i. prohibiting Defendant from engaging in the wrongful and unlawful acts

               described herein;

           ii. requiring Defendant to protect, including through encryption, all data

               collected through the course of its business in accordance with all applicable

               regulations, industry standards, and federal, state or local laws;

           iii. requiring Defendant to implement and maintain a comprehensive

               Information Security Program designed to protect the confidentiality and

               integrity of the personal identifying information of Plaintiff and Class

               Members’ personal identifying information;

           iv. prohibiting Defendant from maintaining Plaintiff’s and Class Members’

               personal identifying information on a cloud-based database (if, in fact, it

               does so);

           v. requiring     Defendant    to    engage   independent    third-party   security

               auditors/penetration testers as well as internal security personnel to conduct

               testing, including simulated attacks, penetration tests, and audits on

               Defendant’s systems on a periodic basis, and ordering Defendant to

               promptly correct any problems or issues detected by such third-party

               security auditors;



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          vi. requiring Defendant to engage independent third-party security auditors and

               internal personnel to run automated security monitoring;

          vii. requiring Defendant to audit, test, and train its security personnel regarding

               any new or modified procedures;

         viii. requiring Defendant to segment data by, among other things, creating

               firewalls and access controls so that if one area of Defendant’s network is

               compromised, hackers cannot gain access to other portions of Defendant’s

               systems;

          ix. requiring Defendant to conduct regular database scanning and security

               checks;

           x. requiring Defendant to establish an information security training program

               that includes at least annual information security training for all employees,

               with additional training to be provided as appropriate based upon the

               employees’ respective responsibilities with handling personal identifying

               information, as well as protecting the personal identifying information of

               Plaintiff and Class Members;

          xi. requiring Defendant to routinely and continually conduct internal training

               and education, and on an annual basis to inform internal security personnel

               how to identify and contain a breach when it occurs and what to do in

               response to a breach;

          xii. requiring Defendant to implement a system of tests to assess its respective

               employees’ knowledge of the education programs discussed in the

               preceding subparagraphs, as well as randomly and periodically testing



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               employees’ compliance with Defendant’s policies, programs, and systems

               for protecting personal identifying information;

         xiii. requiring Defendant to implement, maintain, regularly review, and revise as

               necessary a threat management program designed to appropriately monitor

               Defendant’s information networks for threats, both internal and

               external, and assess whether monitoring tools are appropriately configured,

               tested, and updated;

         xiv. requiring Defendant to meaningfully educate all Class Members about the

               threats that they face as a result of the loss of their confidential personal

               identifying information to third parties, as well as the steps affected

               individuals must take to protect themselves;

          xv. requiring Defendant to implement logging and monitoring programs

               sufficient to track traffic to and from Defendant’s servers; and

         xvi. for a period of 10 years, appointing a qualified and independent third-party

               assessor to conduct a SOC 2 Type 2 attestation on an annual basis to

               evaluate Defendant’s compliance with the terms of the Court’s final

               judgment, to provide such report to the Court and to counsel for the class,

               and to report any deficiencies with compliance of the Court’s final

               judgment; and

  D.    For an award of damages, including actual, nominal, and consequential damages,

        as allowed by law in an amount to be determined;

  E.    For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

  F.    For pre- and post-judgment interest on all amounts awarded; and



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      G.     Such other and further relief as this Court may deem just and proper.

                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.

DATED: October 7, 2022                               Respectfully Submitted,

                                                     By: /s/ R. Luke Widener________

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